      Case 1-17-42418-nhl            Doc 160       Filed 10/29/18    Entered 10/29/18 19:23:24




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------X    CASE NO.: 17-42418-nhl
IN RE:
                  Marlene Marshalleck

                                   Debtor.                          CHAPTER 11

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AFFIDAVIT OF SERVICE REGARDING SERVICE OF ORDER TO SHOW CAUSE DATED
                           OCTOBER 26, 2018

        It is hereby certified by the undersigned under the penalty of perjury pursuant to this

Court Order Dated October 26, 2018 for service of the Order to Show Cause as well as all related

annexures upon all impacted parties, those with notice of appearances, U.S. Trustee, buyer and

1031 exchange parties—all such parties have been served with an email as well as Overnight

Fedex Service on October 26, 2018.


Dated: October 29, 2018
                                                                    /s/karamvir dahiya
                                                                    ____________________
                                                                    Karamvir Dahiya




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